
PER CURIAM.
Matthew Champion appeals, pro se, from an order summarily denying his motion to dissolve a permanent injunction against domestic violence. His former girlfriend, Emma Ziulkowski,1 did not file an answer brief, because Champion sufficiently alleged changed circumstances, we reverse and remand for an evidentiary hearing upon proper service of process on Ziulkowski. See Baker v. Pucket, 139 So.3d 954, 956 (Fla. 4th DCA 2014).
REVERSED AND REMANDED.
LAWSON, C.J., COHEN and ' BERGER, JJ., concur.

. She spells her last name differently than it is spelled in the case style and the pleadings below.

